 Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 1 of 25




FILED UNDER SEAL PURSUANT
   TO PROTECTIVE ORDER


           EXHIBIT 15
   Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 2 of 25




                                                                      DASH




Dynamic Adaptive Streaming over HTTP
    – Design Principles and Standards

                       Thomas Stockhammer, Qualcomm
    Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 3 of 25




2
    Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 4 of 25




3
                        Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 5 of 25




User Frustration in Internet Video
       Video not accessible                                Low quality of experience
           Behind a firewall                                   Long start-up delay
           Plugin not available                                Frequent Rebuffering
           Bandwidth not sufficient                            Low playback quality
           Wrong/non-trusted device                            No lip-sync
           Wrong format                                        No DVD quality (language, subtitle)
       Fragmentation                                       Expensive
           Devices                                             Sucks my bandwidth
           Content Formats                                     Need a dedicated device
           DRMs                                                Other costs …




                                  Delivery Platform

    4
    Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 6 of 25




                                                                       DASH




    One way to build confidence -
                Open Standards




5
       Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 7 of 25


DASH:
Standardization History and Status
                                                 HTTP Live
                                                 Streaming

                                                                    Mobile
                     IIS Smooth Streaming
                                                                   Companies




6
                       Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 8 of 25


Why in 3GPP?
The Mobile Video Streaming Challenge
       The mobile video landscape                               The challenges
    •     Mobile Internet use is dramatically                       •      Mobile users expect high quality
          expanding                                                        video experience
    •     Video traffic is growing exponentially                    •      Network operators need to offer
          & is a large fraction
                          Figure 2.of the
                                      Videousage                           quality
                                           Will Account for 66 Percent of Global      experience
                                                                                 Mobile                 affordably
                                                                                        Data Traffic by 2014




     39 times
    growth of
     mobile
       data


          66%                                                                                                       Source:
                                                                                                       Cisco White Paper:
         mobile                                                                             Cisco Visual Networking Index:
        video by                                                                                       Global Mobile Data
                                                                                                           Traffic Forecast
          2014                                                                                         Update, 2009-2014
                                                                                                                   Figure 2
          Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 9 of 25




Standardization History and Status
                                                         HTTP Live
                                                         Streaming

      CE                                                                       Mobile
    Vendors                  IIS Smooth Streaming
                                                                              Companies

                            Liaison                      Adaptive
                          relationship       HTTP Streaming (AHS)
                                                            March 2010
                   Publish
                                                               Publish
          HTTP Adaptive Streaming (HAS)
              Sept 2010

            Liaison                                         Contribution & Liaison
          relationship                                           relationship
                     MPEG - ISO/IEC      Publish
                   JTC1/SC29 WG11
                                           Dynamic Adaptive Streaming over HTTP (DASH)
                                                   Draft International Standard – February 2011

                                            14496-12 ISO Base Media File Format
                                            Draft Amendment - February 2011

8
                     Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 10 of 25




MPEG DASH ISO/IEC 23001-6
 MPEG DASH ISO/IEC 23001-6 is now the master specification
 Provides a superset for system specifications
           3GPP Release-9 AHS
           Open IPTV Forum HTTP Adaptive Streaming
           3GPP Release-10 DASH (completion target July 2011)
           System specifications may define more: codecs, DRM, etc.
       Timeline and Activities
           Draft International Standard (DIS) 23001-6 available publicly
           5 months balloting period until July 2011
           Parallel approval process for extensions to ISO base media FF to support DASH
           Continuous coordination with 3GPP and other organizations (DECE, OIPF, etc.)
           Conformance and Reference Software activities kicked off (see WD 23001-7)
       The good news: Converging standard for adaptive streaming on the way



    9
     Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 11 of 25




                                                                         DASH




                    DASH Design Principles




10
                    Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 12 of 25




(Some) DASH Design Principles
    DASH is not:
        system, protocol, presentation, codec, interactivity, client specification
    DASH is an enabler
        It provides formats to enable efficient and high-quality delivery of streaming
         services over the Internet
        It is considered as one component in an e2e service
        System definition left to other organizations (SDOs, Fora, Companies, etc.)
    It attempts to be very good in what is to be addressed by the standard
        Enable reuse of existing technologies (containers, codecs, DRM etc.)
        Enable deployment on top of HTTP-CDNs (Web Infrastructures, caching)
        Enable very high user-experience (low start-up, no rebuffering, trick modes)
        Enable selection based on network and device capability, user preferences
        Enable seamless switching
        Enable live and DVD-kind of experiences
        Move intelligence from network to client, enable client differentiation
        Enable deployment flexibility (e.g., live, on-demand, time-shift viewing)
        Provide simple interoperability points (profiles)

    11
     Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 13 of 25




                                                                         DASH




         DASH Specification Insights




12
                Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 14 of 25




   What is specified – and what is not?
Media Presentation on HTTP                Media                                      DASH Client
Server                                 Presentation
                                        Description
                  Segment
                                                                               DASH
                                                                               Control
                                                                               Engine
                                        Resources
                                                                  on-time http
                                         located by
                                                                  requests to
                                        HTTP-URLs                  segments
                                                                                          Media
                                                                                         Engines
                                                                     HTTP
                                          HTTP/1.1                   Access
                                                                     Client




     13
            Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 15 of 25




Information Classification
 MPD and Index Information for DASH Access client
   Core specification aspects of DASH

 Initilialisation and Media Segments for Media engine
   Reuse of existing container formats and easy conversion
   Small adaptations may be necessary for usage in DASH



  MPD
                DASH                                                            Media
                                                           Media
                Access                                                          output
 Segment                           MPEG format             engine
   data
                Client               media +
                                      timing




 14
                     Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 16 of 25




     Media Presentation Data Model
       Media Presentation Description (MPD) describes
           accessible Segments and corresponding timing                                  Segment Info
                                                                                         Initialization Segment
                                                                                         http://www.e.com/ahs-5.3gp


Media Presentation                                                                       Media Segment 1
                             Period,                                                     start=0s
Period, start=0s             •start=100                     Representation 1             http://www.e.com/ahs-5-1.3gs

…                                       …
                             •baseURL=http://www.e.com/     •bandwidth=500kbit/s
                                                            •width 640, height 480       Media Segment 2
                              Group 1                                  …                 start=10s
                                                                                         http://www.e.com/ahs-5-2.3gs
Period, start=100s            video                          Segment Info
…                                                            duration=10s                Media Segment 3
                                                                                         start=20s
                              Group 2                        Template:                   http://www.e.com/ahs-5-3.3gh
                              audio                          ./ahs-5-$Index$.3gs
Period, start=295s
                                       …
…
                                                              Representation 2
                                                              •bandwidth=250kbit/s
          …                                                   •width 640, height 480
                                                                            …
                                                                                         Media Segment 20
                                                                                         start=190s
                                                                                         http://www.e.com/ahs-5-20.3gs
        15
              Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 17 of 25




MPD Information
 Redundant information of Media Streams for the purpose to
  initially select or reject Groups or Representations
     Examples: Codec, DRM, language, resolution, bandwidth
 Access and Timing Information
   the HTTP-URL(s) and byte range for each accessible Segment
   the earliest next update of the MPD on the server
   the segment availability start and end time in wall-clock time
   the approximated media start time and duration of a Media Segment
    in the media presentation timeline
   for live service, instructions on starting playout such that media
    segments will be available in time for fluent playout in the future
 Switching and splicing relationships across Representations
 Relatively little other information


 16
              Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 18 of 25




Segment Indexing
 Provides binary information in ISO box structure on
   Accessible units of data in a media segment
   Each unit is described by
       Byte range in the segments (easy access through HTTP partial GET)
       Accurate presentation duration (seamless switching)
       Presence of representation access positions, e.g. IDR frames

 Provides a compact bitrate-over-time profile to client
   Can be used for intelligent request scheduling
 Generic Data Structure usable for any media segment
  format, e.g. ISO BMFF, MPEG-2 TS, etc.
 Hierarchical structuring for efficient access
 May be combined with media segment or may be separate


 17
           Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 19 of 25




Media Segment with Segment Index
 Simple
                    S1      F1      F2      F3      F4      F5      F6




 Hierarchical
                    S1      S2      F1      F2       S3      F3      F4        S4   F5   F6



 Daisy-Chain
                    S1      F1      F2      S3      F3      F4      S5         F5   F6
                    Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 20 of 25




Media Segments
 Contain information to map segment into media
  presentation timeline for switching and synchronous
  presentation with other Representations
 For ISO BMFF, contains one or more movie fragments
 Can be short (≈1-10 sec) and long (≈10sec – 2h)
  Segment	                    Advantages                                            Disadvantages
  dura,on
                •    Commonality	  with	  Live                   •   Large	  number	  of	  ﬁles
                •    High	   switching	   granularity	   on	   •   Large	  number	  of	  URLs
      Short          segment	  level                              •   Fixed	  request	  size
                                                                   •   switching	  granularity	  on	  segment	  level
                •    Small	  number	  of	  ﬁles                •    Need	  for	  Segment	  Index
                •    Small	  number	  of	  URLs                •    Diﬀerence	  from	  Live
      Long      •    High	  switching	  granularity
                •    Flexible	  request	  sizes
                •    Improved	  cache	  performance
 19
     Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 21 of 25




                                                                         DASH




                   DASH Selected Features




20
                    Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 22 of 25




DASH Selected Feature list
 Live, On-Demand and Time-shift services
 Independency of request size and segment size (byte range requests)
 Segment formats
        ISO base media FF and MPEG-2 TS
        guidelines for integrating any other format
        Are codec independent
 Support for server and client-side component synchronization (e.g.,
  separate and multiplexed audio and video)
 Support for efficient trick mode
 Simple splicing and (targeted) ad insertion
 Definition of quality metrics
 Profile: restriction of DASH and system features (claim & permission)
 Content Descriptors for Protection, Accessibility, Rating, etc.
        Enables common encryption, but different DRM (DECE-like)
    21
            Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 23 of 25




Forward looking
 Do the homework
   Specification completion in the next few months
   Conformance, interoperability and reference software

 DASH is rich and simple at the same time
   Understand more detailed market needs
   Create profiles as considered necessary
   Collaborate with system creators on how to integrate DASH

 Integrate it into the web – what is necessary?
 Get it deployed
 Everyone is invited - get involved in and excited about
  DASH
 22
     Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 24 of 25




23
     Case 5:24-cv-03203-PHK Document 1-15 Filed 05/28/24 Page 25 of 25




                                                                         DASH




                                                      Thank you

                                  Comments – Questions - Feedback




24
